     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-1710

                        UNITED STATES,

                          Appellee,

                              v.

                     MICHAEL B. HABERSKI,

                    Defendant, Appellant.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

      [Hon. George A. O'Toole, Jr., U.S. District Judge]

                            Before

                  Selya, Boudin and Lynch,
                      Circuit Judges.

   James R. Knudsen and Whittenberg &amp;amp; Associates on brief for
appellant.
   Donald K. Stern, United States Attorney, Louis M. Fischer,
Attorney, Department of Justice, and Christopher L. Varner, and
Paul Andrews, Attorneys, Department of Justice, on brief for
appellee.

September 15, 1999

          Per Curiam. Upon careful review of the briefs and
record, we conclude that the district court did not plainly err
in applying the 2-level adjustment under U.S.S.G.  3B1.1(c). 
Contrary to defendant's appellate arguments, the district court
adopted the factual findings stated in the presentence report,
which findings adequately supported the conclusion that
defendant "exercised control over, or was otherwise responsible
for organizing the activities of, at least one other individual
in committing the crimes."  United States v. DiSanto, 86 F.3d
1238, 1259-60 (1st Cir. 1996).
          Affirmed.  See 1st Cir. Loc. R. 27.1.
